           Case 1:22-vv-01463-UNJ Document 38 Filed 02/16/24 Page 1 of 2
                                                 CORRECTED




    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 22-1463V


    TIFFANY WENTWORTH,
                                                              Chief Special Master Corcoran
                         Petitioner,
    v.                                                        Filed: January 17, 2024


    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Daniel Alholm, Alholm Law PC, Chicago, IL,, for Petitioner.

Claudia Barnes Gangi, U.S. Department of Justice, Washington, DC, for Respondent.

                      DECISION ON ATTORNEY’S FEES AND COSTS 1

        On October 6, 2022, Tiffany Wentworth filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleged that she suffered a shoulder injury related to vaccine
administration as a result of an influenza vaccine administered on November 1, 2021.
Petition, ECF No. 1. On October 16, 2023, I issued a decision awarding compensation to
Petitioner based on the Respondent’s proffer. ECF No. 24.




1
  Because this Decision contains a reasoned explanation for the action taken in this case, it must be made
publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or at
https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government Act of
2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
inf ormation, the disclosure of which would constitute an unwarranted invasion of privacy. If , upon review, I
agree that the identified material fits within this definition, I will redact such material f rom public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
          Case 1:22-vv-01463-UNJ Document 38 Filed 02/16/24 Page 2 of 2




       Petitioner has now filed a motion for attorney’s fees and costs, requesting an award
of $26,828.95 (representing $25,702.50 in fees plus $1,126.45 in costs). Petitioner’s
Application for Fees and Costs (“Motion”) filed Oct. 20, 2023, ECF No. 29. In accordance
with General Order No. 9, Petitioner filed a signed statement representing that Petitioner
incurred no out-of-pocket expenses. ECF No. 29-4.

       Respondent reacted to the motion on Oct. 23, 2023, reporting that he is satisfied
that the statutory requirements for an award of attorney’s fees and costs are met in this
case, but deferring resolution of the amount to be awarded to my discretion. Respondent’s
Response to Motion at 2-3, ECF No. 30. On Oct. 26, 2023, Petitioner reported that she
does not intent to file a substantive reply to Respondent’s response. ECF No. 31.

        Petitioner has requested the following hourly rates for Attorney Daniel Alholm:
$425 for time billed in 2022 and $450 for time billed in 2023. ECF No. 29-1. I find these
hourly rates to be reasonable and will award the attorney’s fees requested. Furthermore,
Petitioner has provided supporting documentation for all claimed costs. ECF No. 29-3.
Respondent offered no specific objection to the rates or amounts sought.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs for
successful claimants. Section 15(e). Accordingly, I hereby GRANT Petitioner’s Motion for
attorney’s fees and costs. I award a total of $26,828.95 (representing $25,702.50 in fees
plus $1,126.45 in costs) as a lump sum in the form of a check jointly payable to
Petitioner and Petitioner’s counsel, Daniel Alholm. In the absence of a timely-filed
motion for review (see Appendix B to the Rules of the Court), the Clerk of Court shall
enter judgment in accordance with this Decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by f iling a joint notice
renouncing their right to seek review.
                                                  2
